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EXHIBIT 4
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From: Jones, Luke (USADC) <Luke.Jones@usdoj.gov>
Sent: Thursday, February 13, 2020 9:13 AM
To: Dubelier, Eric A. <EDubelier@ReedSmith.com>
Cc: Seikaly, Kate J <KSeikaly@ReedSmith.com>; Lallas, Peter (USADC) <Peter.Lallas@usdoj.gov>; Jed, Adam (USADC)
<Adam.Jed@usdoj.gov>; Alpino, Heather (NSD) <Heather.Alpino@usdoj.gov>
Subject: Re: Concord trial subpoena return

EXTERNAL E‐MAIL ‐ From Luke.Jones@usdoj.gov

Understood. Thank you.

Luke


On Feb 13, 2020, at 8:52 AM, Dubelier, Eric A. <EDubelier@reedsmith.com> wrote:

       Luke:

       The judge said there was no 6th A issue because all we had to do was transmit the subpoena to Concord
       and transmit any production to you. That is exactly what we did. So in answer to your two questions (1)
       we cannot attest to compliance with the subpoena because we had nothing to do with any collection or
       review of potentially responsive documents, and (2) we gave you all of the documents Concord gave to
       us so I think it is fair for you to conclude that they do not have anything else related to the first
       subpoena. This is what I explained to Jonathan. We are happy to discuss by phone.

       Thanks, Eric

       Eric A. Dubelier

       edubelier@reedsmith.com
       Reed Smith LLP
       1301 K Street, N.W.
       Suite 1100 - East Tower
       Washington, D.C. 20005
       202-414-9200
       Fax 202-414-9299


       From: Jones, Luke (USADC) <Luke.Jones@usdoj.gov>
       Sent: Wednesday, February 12, 2020 4:08 PM
       To: Dubelier, Eric A. <EDubelier@ReedSmith.com>; Seikaly, Kate J <KSeikaly@ReedSmith.com>
       Cc: Lallas, Peter (USADC) <Peter.Lallas@usdoj.gov>; Jed, Adam (USADC) <Adam.Jed@usdoj.gov>; Alpino,
       Heather (NSD) <Heather.Alpino@usdoj.gov>
       Subject: RE: Concord trial subpoena return

       EXTERNAL E-MAIL - From Luke.Jones@usdoj.gov

       Counsel,

       I know this came up in conversation yesterday at the hearing, but, to be sure we understand your
       position, can you please respond to the two questions below by email?

       Thanks,

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Luke



Luke Jones
Assistant U.S. Attorney
District of Columbia
                (office)
                (cell)




From: Kravis, Jonathan (USADC) <JKravis1@usa.doj.gov>
Sent: Monday, February 10, 2020 5:51 PM
To: Dubelier, Eric A. <EDubelier@ReedSmith.com>; Seikaly, Kate J <KSeikaly@ReedSmith.com>
Cc: Jones, Luke (USADC) <LJones2@usa.doj.gov>; Lallas, Peter (USADC) <PLallas@usa.doj.gov>; Jed,
Adam (USADC) <AJed@usa.doj.gov>; Alpino, Heather (NSD) <halpino@jmd.usdoj.gov>
Subject: Concord trial subpoena return

Dear counsel,

We write concerning Concord’s trial subpoena return. We have two questions.

First, the notice you filed on Friday says that Concord “has transmitted documents…in connection with
the trial subpoena,” but does not represent that Concord has actually complied with the subpoena. Can
you make that representation to us?

Second, based on an initial review of the production, it does not appear to us that Concord produced
any documents responsive to category #3. Can you tell us whether we are correct about that, and if so
why that is?

Thanks,
Jonathan


Jonathan Kravis
Deputy Chief, Fraud and Public Corruption Section
U.S. Attorney’s Office for the District of Columbia




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